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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-02887-JLK-MEH

  ALEJANDRO MENOCAL, et al.,

          Plaintiffs,

  v.

  THE GEO GROUP, INC.,

          Defendant.


   PLAINTIFFS’ UNOPPOSED MOTION TO EXCUSE IN-PERSON ATTENDANCE
                  AT THE SETTLEMENT CONFERENCE


       The Class Representatives, through undersigned counsel, hereby respectfully submit

  the following Motion to Excuse In-Person Attendance at the Settlement Conference set in

  this matter (ECF No. 121), and state:

       1. In its Order dated February 20, 2018, the Court required counsel to ensure that all

  parties with settlement authority be present at the Settlement Conference set to proceed

  before Judge Hegarty on May 2, 2018. ECF No. 121.

       2. The Class Representatives represent two classes of individuals currently and

  formerly detained by Defendant pending civil deportation proceedings. ECF No. 57.

       3. Six of the nine Representative Plaintiffs are unable to attend the Settlement

  Conference for the following reasons:

             a. Five of the nine Representative Plaintiffs have been deported and currently




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  reside outside the United States;

            b. One of the Representative Plaintiffs is currently detained by the Department

  of Homeland Security, Immigration and Customs Enforcement, in San Diego, California.

     4. Plaintiffs respectfully submit that the remaining three Class Representatives

  should be excused from attendance at the settlement conference for the following

  reasons. First, attendance of some, but not all, of the Class Representatives could

  potentially give rise to conflict among the Class Representatives because a minority of

  the Class Representatives would have greater access to the negotiations than the absent

  majority. In any event, attendance by only three of the nine Class Representatives would

  not give the Court or counsel access to full settlement authority because any agreement

  approved by the attending Class Representatives would have to later be taken to the

  absent Class Representatives for approval.

     5. Class Counsel believe it to be preferable that they attend the Settlement

  Conference with substantial settlement authority approved in advance by all the Class

  Representatives. Any agreement in principle reached at the Settlement Conference would,

  of course, be within the authority delegated to Class Counsel by the Class

  Representatives and would be subject to their final approval.

     6. Class Counsel conferred with counsel for the Defendant regarding the relief

  sought herein. Defendant does not oppose the motion.



     WHEREFORE, Plaintiffs respectfully request leave from the Court excusing the

  Representative Plaintiffs from attendance at the May 2, 2018 settlement conference.



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  Respectfully submitted by:

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  Class Counsel

                                     Certificate of Service

   I hereby certify that on this date I served the foregoing document on counsel of record for
                     all parties in this case via this Court’s CM/ECF system.


                                                   /s Brandt Milstein




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